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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


 UNITED STATES OF AMERICA,
                                                      CRIMINAL NO. 10-20705
                               Plaintiff,
                                                      HONORABLE ROBERT H. CLELAND
 - vs-

 D-3     RABIH ALI,

                         Defendant.
 ____________________________________/

                          PRELIMINARY ORDER OF FORFEITURE

         On April 5, 2011, a Second Superseding Indictment was filed against defendant Rabih

 Ali, and others, charging violations of 18 U.S.C. § 1343 (Wire Fraud). On April 21, 2011,

 defendant Rabih Ali entered into a Rule 11 Plea Agreement and agreed to the entry of a

 forfeiture money judgment against him pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461

 and Fed.R.Crim.P.32.2(b), in favor of the United States, in the amount of $140,000 in U.S.

 Currency, as property constituting proceeds of defendant’s 18 U.S.C. § 1343 violation.

         Pursuant to Fed.R.Crim.P. 32.2, and as the result of the guilty plea by defendant Rabih

 Ali to Count One of the Second Superseding Indictment,

         IT IS HEREBY ORDERED AND ADJUDGED THAT a money judgment in the amount

 of $140,000 in U.S. Currency is granted and entered against defendant Rabih Ali, in favor of the

 United States of America, as such amount represents proceeds obtained from defendant’s

 violation of 18 U.S.C. § 1343;

         IT IS FURTHER ORDERED that pursuant to Fed.R.Crim.P. 32.2, this Preliminary Order

 of Forfeiture shall become final at the time defendant is sentenced, and shall be made part of
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 defendant’s sentence and included in the judgment. The entry of this Preliminary Order of

 Forfeiture shall not be the subject of ancillary proceedings given that the forfeiture consists

 entirely of a money judgment; and

        IT IS FURTHER ORDERED that the Court shall retain jurisdiction to enforce this Order

 and to amend it as necessary pursuant to Fed.R.Crim.P. 32.2(e).




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 IT IS SO ORDERED.


                                                S/Robert H. Cleland
                                               ROBERT H. CLELAND
                                               UNITED STATES DISTRICT JUDGE


 Dated: April 24, 2012


 I hereby certify that a copy of the foregoing document was mailed to counsel of record and/or
 pro se parties on this date, April 24, 2012, by electronic and/or ordinary mail.


                                                S/Lisa Wagner
                                               Case Manager and Deputy Clerk
                                               (313) 234-5522




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